
221 Md. 609 (1959)
156 A.2d 794
BURGESS
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[P.C. No. 60, September Term, 1959.]
Court of Appeals of Maryland.
Decided December 22, 1959.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
PER CURIAM:
For the reasons stated in the opinion of Judge Evans in the court below, this application for leave to appeal pursuant to the Uniform Post Conviction Procedure Act is denied. Any additional grounds not raised below, cannot now be considered on an application for leave to appeal. Code (1959 Cum. Supp.), Art. 27, sec. 645H; Shifflett v. Warden, 220 Md. 667, 155 A.2d 68; Culley v. Warden, 220 Md. 687, 154 A.2d 813.
Application denied.
